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VIA ECF and EMAIL                         The application is granted. I am informed that neither
                                          the Government nor Probation objects. Congratulations
October 16, 2020                          to Mr. Martin. Mr. Robin shall provide a copy of this
                                          endorsement to Probation.
The Honorable Cathy Seibel
United States District Judge
United States Courthouse
300 Quarropas Street
White Plains, New York 10601                                                                    10/19/20



                              Re:    United States v. Joshua Martin
                                     12-CR-111-26 (CS)


Dear Judge Seibel:

        I write regarding my client Joshua Martin, to request early termination of supervised
release pursuant to 18 U.S.C. § 3583(e).

                                        BACKGROUND

       On December 12, 2012, the Court sentenced Mr. Martin to a term of imprisonment of 70
months and a five year term of supervised release, after a previously entered plea of guilty
pursuant to a plea agreement. See Judgment, ECF 177.

        On May 11, 2015, the Court granted a motion for a sentence reduction pursuant to 18
U.S.C. § 3582(c)(2). Mr. Martin’s sentence was reduced to a term of imprisonment of 60 months
and a five year term of supervised release. See Order Regarding Motion for Sentence Reduction,
ECF 352.

       Mr. Martin was released from the custody of the B.O.P. on October 14, 2016 to begin his
term of supervised release, and so has served four years to date.
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                  STATUTORY AND CASE LAW BASIS FOR THIS REQUEST

                  18 U.S.C. § 3583, Inclusion of a term of supervised release after imprisonment,
    provides in applicable part:

                 (e) Modification of conditions or revocation. The court may, after
                 considering the factors set forth in section 3553 (a)(1), (a)(2)(B),
                 (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7) [18 USCS §
                 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and
                 (a)(7)]--
                 (1) terminate a term of supervised release and discharge the
                 defendant released at any time after the expiration of one year of
                 supervised release, pursuant to the provisions of the Federal Rules of
                 Criminal Procedure relating to the modification of probation, if it is
                 satisfied that such action is warranted by the conduct of the defendant
                 released and the interest of justice(.) 1



                Federal Rule of Criminal Procedure Rule 32.1 Revoking or
          Modifying Probation or Supervised Release provides in applicable part:


                 (c) Modification.
                  (1) In General. Before modifying the conditions of probation or
          supervised release, the court must hold a hearing, at which the person has the
          right to counsel and an opportunity to make a statement and present any
          information in mitigation.
                 (2) Exceptions: A hearing is not required if:
                 (A) the person waives the hearing; or
                   (B) the relief sought is favorable to the person and does not extend
          their term of probation or supervised release; and
                 (C) an attorney for the government has received notice of the relief
          sought, has had a reasonable opportunity to object, and has not done so.




1
 “Interest(s) of justice” is defined as “The proper view of what is fair and right in a matter in
which the decision-maker has been granted discretion.” This definition dates to the 17 th century.
Black’s Law Dictionary, 11th Edition, Thomson Reuters, 2019.
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         In United States v. Sheckley, 1997 U.S. App. LEXIS 32024, the Second Circuit wrote, “We
have explained that the determination of early release is a discretionary decision made by the
district court. See United States v. Lussier, 104 F.3d 32, 36 (2d Cir. 1997). Early termination is not
warranted as a matter of course; on the contrary, it is only ‘occasionally’ justified due to ‘changed
circumstances’ of a defendant, such as ‘exceptionally good behavior.’ Id.”
        Lussier was also cited in a recent Southern District decision. “The Second Circuit has
further explained that early termination of probation may be appropriate ‘to account for new or
unforeseen circumstances,’ like ‘exceptionally good behavior by the defendant.’ United States v.
Lussier, 104 F.3d 32, 36 (2d Cir. 1997)(considering a request in the analogous context of early
termination of supervised release.” United States v. Kassim, 2020 U.S. Dist. LEXIS 90357*3,4;
2020 WL 2614760, 15 Cr. 554-3, (KPF)(SDNY). The Court in Kassim denied the request for early
termination without prejudice and invited the defendant’s counsel to submit detailed information
about his progress on supervised release, because the specifics of his progress were only
generalized on the initial application. Id., *5.

        Other District Court Judges have recognized that early termination is appropriate in some
cases. For example, in United States v. Trotter, 321 F. Supp. 3d 337 (E.D.N.Y. 2018), 2018 U.S.
Dist. LEXIS 111946; 2018 WL 3321426, District Judge Jack B. Weinstein noted that the Eastern
District Probation Office recommends early termination where warranted, because the resources
of the probation department are limited, and should be focused where needed. Id. at 340.

        The Office of Probation and Pretrial Services, Administrative Office of the U.S. Courts,
in a 2013 article entitled Early Termination of Supervision: No Compromise to Community
Safety, stated “early termination is a practice that holds promise as a positive incentive for
persons under supervision and as a measure to contain costs in the judiciary without
compromising the mission of public safety.” See, https://www.uscourts.gov/federal-probation-
journal/2013/09/early-termination-supervision-no-compromise-community-safety


                                           DISCUSSION

        Joshua Martin, now age 32, is married and lives in the Bronx, New York with his wife
and son, who is 12 years old. Mr. Martin was working last year as a crane operator on
construction sites. He is also a member of Local 106, the Operating Engineers Union. He has
apprentice rating with that union. Presently Mr. Martin is working as a truck driver for DHL. Mr.
Martin has a New York State Class A Commerical Drivers License. He also has numerous other
licenses and certificates, including certifications as a Crane Operator, a NYC Department of
Buildings Rigging Worker, and an OSHA Construction and Safety Health course completion
card. He is a member in good standing of the Laborers’ International Union of North America,
Local Union 79. See Exhibit A.

     Mr. Martin has also been recommended by Local 580, Ornamental Ironworkers, to the
New York City Fire Department for a Burning and Fire Watch license. See Exhibit B.
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        In May of 2020, when crane operating work was not available, Mr. Martin went out and
got a job driving a truck with DHL so that he could remain employed, notwithstanding the
Covid-19 pandemic.

       The four years on supervised release Mr. Martin has completed have been without
incident, and he is now on low intensity supervision. I spoke by telephone with his supervising
Probation Officer, Zondra Jackson, on October 7, 2020 and she told me “his attitude has been
highly motivated since he began, and he maintains a positive attitude, and is an appropriate
candidate for early termination.”

       Mr. Martin has shown exceptionally good behavior through his motivation and hard
work. The specific and detailed list of his accomplishments in the workplace are a testament to
his motivation and positive attitude.



                                         CONCLUSION

       Mr. Martin is an appropriate candidate for early termination of supervised release, as he
meets the criteria and standards in all ways.




Respectfully submitted,


AVROM ROBIN

C:     A.U.S.A.       Marcia Cohen           (via ECF and email)
       U.S.P.O.       Zondra Jackson         (via email)


Attachments
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